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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-03764-KLM

  GERALD MAESTAS,

         Plaintiff,

  v.

  CITY AND COUNTY OF DENVER,

         Defendant.


   JOINT NOTICE OF SETTLEMENT, JOINT MOTION TO VACATE DEADLINES AND
                     REQUEST FOR FORTHWITH RULING


         Pursuant to D.C.COLO.LCivR 16.6 and CMA Civ. Practice Standard 16.6, the

  parties respectfully notify the Court that they attended mediation on October 4, 2022 and

  have agreed to settle the above-captioned matter. Counsel for the parties are in the

  process of drafting the settlement agreement and stipulated dismissal and respectfully

  request that the Court allow the parties to and including November 7, 2022 to file a

  Stipulated Notice To Dismiss With Prejudice.

         Accordingly, the parties respectfully request that the Court vacate all pre-trial

  deadlines and the trial setting on October 31, 2022.          Because the parties’ pretrial

  deadlines include, inter alia, the deadline to file proposed jury instructions as soon as this

  Friday, October 5, 2022, the parties respectfully request that the Court issue a forthwith

  ruling on their request to vacate the trial setting and upcoming deadlines.

         WHEREFORE, the parties notify the Court of their settlement and respectfully

  request that the Court vacate the trial and associated upcoming deadlines, allow the
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  parties to and including November 7, 2022 to file their Stipulated Motion to Dismiss, and

  to issue a forthwith ruling.

         Respectfully submitted this 5th day of October, 2022.



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